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              EXHIBIT 1
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                                                        UPMIL 5‐6: Winecup Critique Comparison Chart

           Categories: Winecup’s critiques are (i) Plausible; (ii) Debatable; and (iii) Unsupported.
           Cites to UPMIL 5‐6 are to “M” for Motion.
           Cites to Winecup’s response to UPMIL 5‐6 are to “R” for Response.
           Internal citations are omitted when quoting briefs.


      (i)      Winecup’s critiques are PLAUSIBLE.
                       UPMIL 5‐6                                     Response to UPMIL 5‐6                              After Review
    “[Godwin] spent the next few years, 2008 to         “Union Pacific claims that Godwin spent 2008      Godwin Construction LLC was founded in
    2012, building residential housing in Tennessee,    to 2012 building residential housing in            2012.
    a job that had ‘nothing to do with railroads.’” M   Tennessee at a job that had nothing to do with    Godwin continued to work for Crouch
    at 2.                                               railroads.” R at 7.                                Engineering through 2013, although the
                                                                                                           time he spent working Construction vs.
                                                        Godwin spends less than two hours a month          Engineering is not clear. 181:22‐25
                                                        working at Godwin Construction LLC. R at 7.        (Godwin works two hours per month now
                                                                                                           for Godwin Construction; he does not
                                                                                                           testify he worked that little for the years
                                                                                                           after he founded the company in 2012).1




1
  Both sides were impacted by Godwin’s non‐responsiveness for some testimony and his incomplete (often misleading) CV. For example, Godwin’s
CV does not disclose he graduated from college in 2008 but lists what we now understand is pre‐graduation “related experience,” such as welding.
Union Pacific admits the deposition did not fully pin down exactly what Godwin did before 2013, and UPMIL 5‐6 made an inference not fully
supported by the record at the time. However, Union Pacific was not in a position to obtain a clarifying declaration from Godwin, but Winecup was
and did not elect to clarify many points it put at issue. The burden of proof to satisfy Rule 702 remains with Winecup. See Fed. R. Evid. 702(a)
(expert witness must be qualified by knowledge, skill, experience, training, or education).


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  (ii)   Winecup’s critiques are DEBATABLE.
                   UPMIL 5‐6                                 Response to UPMIL 5‐6                                    After Review
“At his deposition it became clear that he        “Godwin testified that between 2005 and             Godwin worked for Crouch Engineering
graduated in 2008 and that many jobs in his       2013 he worked at least 40 hours a week at           through 2013.
C.V. date to before that. . . . he prepared his   Crouch Engineering and his CV shows that he         He testified he worked 40 hours per week
report and was deposed in this case, relying on   was working on railroad engineering and              with Crouch Engineering during college
what he did in 2013 to 2017.” M at 2.             construction projects throughout that time.” R       (hours counted toward processional
                                                  at 7.                                                licensure). 182:18‐25.
                                                                                                      Godwin does not state how many hours
                                                                                                       per week he worked with Crouch
                                                                                                       Engineering after college or after he
                                                                                                       started Godwin Construction.
“From 2014 to 2017, he worked primarily for       “Union Pacific claims that from 2014 to 2017        Godwin provides a list of “RELATED
one railroad on a new construction project.” M    Godwin worked primarily for one railroad on a        EXPERIENCE” for 2014‐2017. CV at 2.
at 2.                                             single new construction project. That is again      He lists only three projects, all for Norfolk
                                                  inaccurate. His list of clients includes over        Southern.
                                                  three dozen since he founded Railroad               Q: “Was [first project on list] new
                                                  Consultants in 2013.” R at 7.                        construction?”
                                                                                                      A: “Yes, but it was also existing track
                                                                                                       construction. Replacements of existing
                                                                                                       structures under track. So it was – it’s
                                                                                                       tricky, yes and no.” 174:10‐22.
                                                                                                      One project [third on list] was new
                                                                                                       construction. 177:2‐3.
                                                                                                      Godwin does provide a partial client list,
                                                                                                       with no project details or dates.




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                  UPMIL 5‐6                                 Response to UPMIL 5‐6                                 After Review
See above.                                      “Godwin testified that over the past six years      Two of the Norfolk Southern projects
                                                he has managed over a billion dollars of             listed on Godwin’s “RELATED EXPERIENCE”
                                                railroad construction, including 40 to 50            make up half of that billion dollars.
                                                bridge projects and miles and miles of track.”      “Those projects were known as the
                                                R at 7.                                              Piedmont Improvement Program in North
                                                                                                     Carolina, and the total construction cost
                                                                                                     was $565 million.” 175:10‐19.




“None of that work in his C.V. was done on an   “Union Pacific claims that the work in              “I did not put my emergency repair
emergency basis.” M at 2.                       Godwin’s CV was not done on an emergency             experience in my CV as projects for clients
                                                basis.” R at 7.                                      that are four years long and half a billion
                                                                                                     dollars are more impressive than
                                                                                                     something that’s a million dollars and
                                                                                                     three weeks long, if that makes sense.”
                                                                                                     176:3‐12.
                                                                                                    *For his undated “EXPERTISE IN THE FIELD
                                                                                                     OF RAILWAY ENGINEERING & PLANNING”
                                                                                                     Section . . . “I mean, the emergency repair
                                                                                                     items would fall under some of these
                                                                                                     paragraphs, yes, but it is not – there’s not
                                                                                                     a specific section dedicated to emergency
                                                                                                     repairs, no.” 177:4‐14.


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  (iii)   Winecup’s critiques are UNSUPPORTED.
                    UPMIL 5‐6                                 Response to UPMIL 5‐6                                  After Review
“In Godwin’s opinion, he does not make clear      “Union Pacific claims that Godwin did not          Godwin suggested the end of March (“It
the period for which he believes Union Pacific    know the time period for which Union Pacific         appears that rerouting costs . . . are
is seeking damages. Union Pacific is only         was seeking rerouting damages and he did not         through the end of March”) but he was
requesting damages for the period after Main      know if rerouting costs ended after Main Line        not able to determine if UP incurred
Line 2 was brought into service (February 21,     2 was reopened. But Godwin stated that he            rerouting costs after Main Line 2 was
2017) and before Main Line 1 was brought into     understood Union Pacific’s rerouting costs           back in service: “I cannot answer the
service (April 1, 2017). During this period,      were calculated through the end of March.” R         question for you until I get more
rerouting costs were caused solely by the         at 8.                                                information from Union Pacific.” 125:17‐
remaining three washouts on Main Line 1.” M                                                            126:4.
at 4.                                                                                                Winecup does not dispute the accuracy
                                                                                                       here. Godwin did not know the facts
                                                                                                       about Main Line 2, but his opinion makes
                                                                                                       no sense unless it assumes UP’s damage
                                                                                                       request covers the period before Main
                                                                                                       Line 2 was back in operation. It does not,
                                                                                                       and this examples shows Godwin opines
                                                                                                       without knowing all pertinent facts.
“At his deposition he claimed to have been        “Union Pacific also attempts to downplay          Godwin’s Declaration adds no additional
‘personally involved in and rerouting’ about 12   Godwin’s rerouting experience. But Godwin           facts: “personally involved in rerouting for
times, all on tracks east of the Mississippi      testified that he had been personally involved      a Class 1 railroad approximately 12 times
River. When questioned about the meaning of       with rerouting for a Class 1 railroad               over the past six years, plus [he] has
‘involved,’ he explained that he had ‘helped’     approximately twelve times over the past six        additional experience with short line
the railroad employees who actually did the       years. In addition, he has experience with          railroads. Railroads turn to me for
rerouting: ‘you know, they ultimately decide      short line railroads.” R at 8.                      professional guidance to implement the
where traffic’s rerouted, but we provide                                                              best rerouting solutions. I have worked in
information to them from the field’ and ‘we                                                           the railroad industry for 15 years
provide the information for them to plug in                                                           completing the aforementioned tasks.”
their model.’” M at 3.                                                                                Godwin Decl. ¶ 2.


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                  UPMIL 5‐6                                    Response to UPMIL 5‐6                                  After Review
“Godwin admitted he needed information on         “Union Pacific states that Godwin did not have     In response to whether number of trains
the number of trains Union Pacific ran per day,   information on the number of trains Union           matters, Godwin admits it does. 113:16‐
but he did not have that information.” M at 6.    Pacific ran per day. But Godwin said the            20.
                                                  records he reviewed showed the demand for           “The demand was 13 trains a day post
                                                  trains in the relevant area was typically 13        flood, I believe, and maybe up to 20 trains
                                                  trains a day and occasionally up to 20 trains a     a day. But really there wasn’t enough
                                                  day.” R at 8‐9.                                     information to be clear on what train was
                                                                                                      – what train symbol was on the section of
                                                                                                      the track . . . there’s just not enough
                                                                                                      information to tell.” 113:4‐15.

“He did not know if Union Pacific needed          “Union Pacific asserted that Godwin did not        Winecup uses an assumption to try and
permission to access adjacent land to do repair   know if Union Pacific needed permission to          refute a fact.
work.” M at 6.                                    access adjacent land to do repair work.            Q: “Okay. So you assume that they
                                                  Godwin’s testimony was that he did ‘not know        wouldn’t need to [get permission], but you
                                                  for the washouts unrelated to my expert             don’t actually know what they actually had
                                                  testimony, but the three washouts that we’re        to do here?”
                                                  talking about, they should have been able to       A: “Correct.” 147:4‐7.
                                                  access from public crossings using their own
                                                  tracks and there would not be a need to get
                                                  permission from any land owners.” R at 9.




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                  UPMIL 5‐6                                   Response to UPMIL 5‐6                                 After Review
“The maintenance of a bridge exceeds that of a   “Union Pacific also claims Godwin testified         No testimony that Godwin considered
culvert, but Godwin did not consider             that he did not consider the maintenance             maintenance costs other than his general
maintenance costs.” M at 8.                      costs of a bridge, but the deposition does not       statement that bridge maintenance costs
                                                 say that. Godwin stated only that his                are higher than culvert maintenance.
                                                 definition of a bridge being ‘gold‐plated’ did      He calls UP’s repairs “gold plated” and
                                                 not include the maintenance needs of a               concedes that definition has nothing to do
                                                 bridge; he did not testify that he did not           with maintenance. 59:13‐22.
                                                 consider any maintenance costs. Indeed,             The point here is that UP took on
                                                 Godwin testified that future maintenance is          additional future expense (for which it is
                                                 something to consider and the ‘maintenance           not seeking to recover), which tends to
                                                 cost of a bridge is higher over time than a          prove its decision‐makers genuinely
                                                 culvert.’” R at 10‐11.                               thought a bridge was overall the least
                                                                                                      expensive alternative. The decision‐
                                                                                                      makers intentionally incurred un‐
                                                                                                      reimbursable costs to build bridges, which
                                                                                                      disproves innuendos that UP was seeking
                                                                                                      to profit from its bridge decisions (e.g.,
                                                                                                      “gold‐plated repairs”).
                                                                                                     This goes directly to the legal issue
                                                                                                      discussed in the brief that UP can replace
                                                                                                      the destroyed embankments with what is
                                                                                                      a reasonable replacement chosen at the
                                                                                                      time and at the place where the
                                                                                                      replacement must be built.




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                   UPMIL 5‐6                                     Response to UPMIL 5‐6                                    After Review
“He used the RS Means tool for national, not        “Union Pacific also criticizes Godwin for using       It is not categorically true that “if there
regional costs. Regional averages are available,    the national average of costs from RS Means            were an adjustment for rural areas, it
but he did not consult them. He decided at his      instead of regional costs. That argument               would be less, not more.” R at 11.
deposition he needs to ‘get back’ to Plaintiff on   misstates the testimony. Godwin testified that        “Typically, in rural settings like we have
those.” M at 8.                                     the nationwide data he used from RS Means              here the costs are much less because
                                                    are the industry standard, are very accurate,          labor’s less. Yes, sometimes you have a
                                                    that RS Means does have costs adjustments to           little more shipping for materials, but most
                                                    increase the price for cities like New York, and       of the materials should have been shipped
                                                    that if there were an adjustment for rural             by rail, so we usually come up with very
                                                    areas, it would be less, not more.” R at 11.           good estimates.” 150:14‐19.
                                                                                                          In response to whether RS Means provides
                                                                                                           for regional variation, “I have to research
                                                                                                           that and get back to you. I do know they
                                                                                                           have adjustments . . . but the nationwide
                                                                                                           cost is just an accepted average to use
                                                                                                           nationwide.” 152:14‐153:4.
                                                                                                          *UP argues regional variations are
                                                                                                           available. Godwin confirms city variations
                                                                                                           are available but not necessarily regional
                                                                                                           variations. 153:5‐9. Winecup does not
                                                                                                           address this distinction.
“Godwin also did not have enough information        “Union Pacific claims that Godwin did not             UP breaks down this argument into
to calculate culvert costs, another reason          have enough information to calculate culvert           specific categories: fill, roads/trucks, pipes,
Godwin could not know whether bridges would         costs. But Godwin did have enough                      timing, and Winecup’s lack of decisions.
be more expensive.” M at 8.                         information to calculate culvert costs, as             All are sound and discussed below.
                                                    shown in the detailed calculation of culvert
                                                    costs included in his report.” R at 11.




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                       UPMIL 5‐6                                    Response to UPMIL 5‐6                                  After Review
    “At his deposition, he admitted for 165 pages      “Union Pacific claims that Godwin ‘admitted          See footnote.2
    that he did not know a great deal about those      for 165 pages that he did not know a great           Q: “But you have no doubt that Union
    costs (detailed below). After these 165 pages      deal about those costs.’ Union Pacific                Pacific’s bridges cost more than they
    of admissions, he admitted his statements that     attempts to support that misstatement with            should have, you’re just not sure exactly
    bridges cost substantially more than culverts      an out‐of‐context quote from Godwin that he           how much more?”
    were the result of ‘just shooting—throwing an      was ‘throwing an arrow at a dart board with          A: “Yes, that would be a fair statement.”
    arrow at a dart board with my eyes closed.’ He     [his] eyes closed.’ But Union Pacific knows           165:13‐16.
    could not ‘have a full opinion about that’ given   that the quote they cite has nothing to do           The “dart board” quotes comes in
    his lack of knowledge of the facts.” M at 7.       with the cost of steel bridges versus earthen         response to a question about how much
                                                       embankments. As the context of the                    more UP spent than it needed to.
                                                       questioning in his deposition clearly shows,         His opinion: “the structures that were
                                                       Godwin was referring to Union Pacific’s               rebuilt were much more expensive and
                                                       inquiry about the cost of Union Pacific’s             time consuming than replacing the
                                                       bridges versus other bridges, a calculation           structures in‐kind and providing fill for
                                                       that Godwin had not made.” R at 9.                    each location.” TX204.



2
 Union Pacific’s quoted language was based on its understanding that Godwin opined that bridges were unreasonably costly since, when Union
Pacific was making decisions from February 8‐15, 2017 after the flood, a diligent railroad should have decided to use culverts and not bridges under
the circumstances. As Union Pacific’s reply explains, this is an incorrect statement of the law. Accordingly, if Godwin’s opinion is interpreted as
addressing only the issue identified by Winecup, it is not relevant to the correct legal issue and should be excluded on that basis.
If Godwin’s opinion is interpreted as we did, it is relevant and thus potentially admissible, but then its admissibility depends on whether Godwin
had the facts necessary to opine on the relevant issue: from February 8‐15, 2017, when the decisions had to be made, whether those making them
for the railroad were reasonable in deciding that building bridges was preferable or at least equal to using culverts as a way to put the railroad into
the condition it would have been in had the Winecup dams been properly maintained. The relevant pre‐flood condition, that the railroad could run
Main Line 1 normally, was the premise in UPMIL 5‐6. If Winecup’s interpretation of Godwin’s opinion is adopted, those motion should be granted
since his opinion is irrelevant. If Union Pacific’s interpretation is adopted, the issue UPMIL 5‐6 raises, as modified (slightly) by this chart, is the more
fact‐intensive one of whether Winecup met its burden of showing that Godwin considered sufficient facts to support the relevant opinion.


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                       UPMIL 5‐6                               Response to UPMIL 5‐6                                     After Review
Eight bullet points describe information          “Union Pacific also claims that the fill required      No incorrect assertion here.
Godwin lacked about whether native soils          for embankments was not available. But that            UP’s point is about getting the fill to the
could be used, UP’s fill specifications,          fact is disputed. As Godwin testified, he has           sites.
availability of fill in the area, and source or   never seen a railroad run out of fill. If              Godwin claims UP had enough rock but did
location from which fill would need to be         necessary, fill can be shipped from quarries            not know what the source of that rock
shipped. M at 12.                                 three or four states away. This is supported by         would be: “It would be a quarry
                                                  testimony from a Union Pacific employee,                somewhere, but I do not know that
                                                  who stated he did not have a shortage of fill           information.” 63:5‐9.
                                                  for the repairs between mile post 670 and              Hill says he had sufficient fill but he could
                                                  679. Deposition of James Hill, 134:7‐19,                not get it to the site: “Could I get the fill to
                                                  attached as Exhibit 4.” R at 11.                        the railroad, I couldn’t.” Winecup Ex. 4 at
                                                                                                          134:18‐19.

“Godwin did not know whether local, native        “Union Pacific claims that Godwin did not              No incorrect assertion here.
soils could be used as fill.” M at 12.            know whether local soils could be used as fill.        In response to whether he knew if native
                                                  But Godwin’s calculations assumed that all fill         soils were available, “I would have to –
                                                  material would be brought in by train and did           have to visit that look at that in more
                                                  not depend on the use of local soils. If local          detail . . . I do not know in this particular
                                                  soils could be used, that would only further            situation.” 63:10‐20
                                                  reduce the cost.” R at 11‐12.                          This is not an “incorrect assertion.” This is
                                                                                                          an argument about whether native soils
                                                                                                          matter in this context.
                                                                                                         Assuming fill material can be brought in by
                                                                                                          train is problematic.




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                     UPMIL 5‐6                                 Response to UPMIL 5‐6                                      After Review
“He did not know Union Pacific’s specifications   “Union Pacific also claims that Godwin did not          No incorrect assertion here.
for fill, though he assumed rock was              know Union Pacific’s specifications for fill.           When asked about UP’s fill specifications:
acceptable.” M at 12.                             Again, the deposition does not support this              “There are fill requirements within all
                                                  assertion. Godwin testified that ‘there are fill         railroad specifications that dictate what
                                                  requirements within all railroad specifications          kind of fill can be used. But rock is always
                                                  that dictate what kind of fill can be used[,] but        an acceptable fill material.” 64:10‐21.
                                                  rock is always an acceptable fill material.’
                                                  Godwin also testified that quarries could
                                                  satisfy whatever requirements for rock were
                                                  necessary.” R at 11‐12.
“Godwin did not include anything in his           “Union Pacific states that Godwin did not               No incorrect assertion here.
damages calculation for building roads.” M at     include a calculation for building roads. But           Winecup’s brief concedes Godwin did not
12.                                               Godwin testified that he did not include the             include costs of building roads. R at 12.
                                                  cost of building access roads because the site
                                                  had access by rail and nearby road crossings.”
                                                  R at 12.
“Godwin did not know if culvert pipes were        “Union Pacific stated that Godwin did not               Godwin did not know whether 15‐ or 14‐
available in inventory or if they had to be       know if culvert pipes were available. But                foot CMP culvert pipe were available but
specially ordered. Godwin did not know if         Godwin testified that culvert pipes are                  says these pipes “could have easily been
Union Pacific guidelines permitted the use of     generally available across the nation and even           replaced with something smaller and more
the 14‐15 foot Corrugated Metal Pipes (CMP)       if it were necessary to ship from Pennsylvania           than one pipe.” 72:19‐24.
Godwin suggested. In fact, Union Pacific          (for example) and pay a couple thousand                 “I do not know [if a 14‐ or 15‐ foot culvert
typically did not use CMP culverts larger than    dollars more to ship, there is always pipe               was available], but if they were not
six feet.” M at 12.                               available to purchase. He also testified that            available, I would have gone to the next –
                                                  whether two smaller pipes are used or one                the larger size available that’s under that
                                                  larger pipe, the difference in cost is negligible,       and put in enough pipes to carry the flood
                                                  and if larger pipes were not available, multiple         capacity.” 134:11‐17.
                                                  smaller pipes could be used. Likewise, the cost
                                                  difference between different types of pipes—
                                                  such as structural plate pipe and corrugated
                                                  metal pipe—is also negligible, as the cost of
                                                  the steel determines the price.” R at 12.

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                   UPMIL 5‐6                                    Response to UPMIL 5‐6                                   After Review
“Godwin thought workers could start building       “Union Pacific’s section on ‘timing’ consists         Winecup does not claim UP’s assertions
culverts faster than they could put in a bridge,   mostly of citations to a declaration from its          are incorrect, only irrelevant.
but the opposite was true.” M at 13‐14.            internal expert as to why Union Pacific chose         Winecup’s label of “irrelevant” is only
                                                   to build bridges instead of embankments with           accurate if Winecup is allowed to change
                                                   culverts. That is not relevant to Godwin’s             Godwin’s opinion as discussed in the brief.
                                                   opinion. Union Pacific tries to make much of          Rebuilding speed is relevant if Godwin
                                                   the fact that Godwin did not know at the time          must stick to his original opinion on
                                                   of his deposition when flood waters had                reasonableness. Godwin’s lack of
                                                   receded enough to begin construction work.             knowledge as to facts he needed to know
                                                   But that is not material to Godwin’s opinion           goes to the admissibility of his opinion
                                                   because, as he testified, construction of a            (e.g., how fast railroad could resume
                                                   bridge would need to wait just as long for             operation with bridges vs. culverts;
                                                   water to recede as construction of an                  financial loss caused by delay; and
                                                   embankment with culverts.” R at 12.                    whether decisions about decommissioning
                                                                                                          one or both dams made bridges more
                                                                                                          appropriate).
                                                                                                         UP engineers standing in the mud during
                                                                                                          the February 2017 storm were reasonable
                                                                                                          to take such factors into account, and
                                                                                                          Godwin cannot condemn those decisions
                                                                                                          while ignorant of the relevant facts.
“Godwin did not know when Union Pacific            “Union Pacific states that Godwin did not             Winecup does not claim UP’s assertions
knew if the Winecup dam which had failed was       know when Union Pacific knew if the dam that           are incorrect, only irrelevant.
going to be replaced. He did not consider that     failed was going to be replaced and he did not        See above.
a factor. If no dams were in place, that           consider that a factor. That is correct but           Also, “without dams in place, Union Pacific
required more flow‐through capacity under the      irrelevant. While the existence of an upstream         needed more flow‐through capacity under
tracks, which made bridges more suitable than      dam might be a factor in Union Pacific’s               the railroad tracks, which also made
culverts.” M at 14.                                decision about what structure it wanted to             bridges more suitable than culverts.”
                                                   build for its own future risk tolerance, it is not     Gawronski Decl. ¶ 20 (ECF No. 139‐3).
                                                   relevant to any of Godwin’s opinions about
                                                   construction costs or rerouting.” R at 13.


                                                                         11
